Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 1 of 19 PageID #: 1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

TIFANY GREEN,                                  )
on behalf of Plaintiff and the class           )
members described herein,                      )
                                               )
                        Plaintiff,             )
                                               )
                v.                             )
                                               )
WLCC II d/b/a                                  )
ARROWHEAD ADVANCE;                             )
WAKPAMNI LAKE COMMUNITY                        )              1:24-cv-01178
CORPORATION;                                   )
WAKPAMNI LAKE COMMUNITY                        )
CORPORATION II;                                )
BRET A. CRANDALL;                              )
RAYCEN RAINES, III, also known as              )
RAYCEN AMERICAN HORSE RAINES                   )
and formerly known as RAYCEN                   )
BALLARD; and JOHN DOES 1-20,                   )
                                               )
                        Defendants.            )

                                 COMPLAINT – CLASS ACTION

        1.      Plaintiff, Tifany Green, brings this action against Defendants (a) WLCC II d/b/a

Arrowhead Advance, (b) Wakpamni Lake Community Corporation, (c) Wakpamni Lake Community

Corporation II, (d) Bret A. Crandall, (e) Raycen Raines, III, also known as Raycen American Horse

Raines and formerly known as Raycen Ballard, and (f) John Does 1-20 to secure redress for usurious

and illegal loans (such as Exhibit A) made to Indiana residents.

        2.      Plaintiff alleges violation of the rate limitations of the Indiana Uniform Consumer

Credit Code (Count I) and violation of the Racketeer Influenced and Corrupt Organizations Act

(RICO), 18 U.S.C. § 1964 (Count II).

                                     JURISDICTION AND VENUE

        3.      The Court has subject matter jurisdiction under 28 U.S.C. § 1331, 18 U.S.C. § 1964,

28 U.S.C. § 1337, and 28 U.S.C. § 1367. Jurisdiction may also exist under 28 U.S.C. § 1332(d), in that



                                                   -1-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 2 of 19 PageID #: 2



the amount in controversy on a classwide basis exceeds $5 million, exclusive of interest and costs,

and in that there are believed to be over 100 members of the class, all of whom are of diverse

citizenship to Defendants.

        4.      This Court has personal jurisdiction over Defendants because they:

                a.      Knowingly participated in the making and collection of unlawful loans to

Indiana residents. In similar actions against purported “tribal” lenders, courts have held that

personal jurisdiction over the persons involved in making the loans exists in the state where the

borrower obtained a loan via the Internet, and in which loan funds were disbursed via ACH transfer.

Gingras v. Rosette, 5:15cv101, 2016 U.S. Dist. LEXIS 66833, 2016 WL 2932163, at *2-3, *9 (D. Vt.

May 18, 2016), aff’d sub nom. Gingras v. Think Fin., Inc., 922 F.3d 112 (2d Cir. 2019) (finding that tribal

lending entity’s contacts with Vermont “would have been sufficient to subject [the tribal entity] to

personal jurisdiction in Vermont” for purposes of claims for violations of state and federal law,

including state usury laws and RICO, where tribal entity operated a website that advertised loans in

Vermont, sent emails and loan applications to Vermont consumers and transferred loan principal to

consumers’ Vermont bank accounts); Duggan v. Martorello, 18cv12277, 2022 U.S. Dist. LEXIS 58075,

at *33-34, 2022 WL 952183 (D. Mass. Mar. 30, 2022); Dawkins v. Blue Dart Ventures, 8:20cv2353,

2021 U.S. Dist. LEXIS 130297 (M.D. Fla. Apr. 1, 2021).

                b.      Selected which states to offer loans in, thereby targeting those states. Illinois

v. Hemi Group, LLC, 622 F.3d 754, 760 (7th Cir. 2010).

        5.      Venue is proper because acts to obtain and collect the loans impacted Plaintiff in

Indiana.

        6.      Article III is satisfied because actions for statutory damages and invalidation of loans

for usury were entertained by the courts of England and the United States in 1787. English Usury

Act of 1713, 12 Anne Session 2 c. 17. All thirteen original American states replaced the English

usury statutes with their own usury laws between 1641 and 1791. Christopher L. Peterson, Usury



                                                    -2-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 3 of 19 PageID #: 3



Law, Payday Loans, and Statutory Sleight of Hand: Salience Distortion in American Credit Pricing Limits, 92

Minnesota Law Review 1110, 1116-18 (April 2008), summarizing statutes allowing 5% to 8%

interest.

                                                 PARTIES

        7.       Plaintiff Tifany Green is a natural person and a citizen of Indiana who at all times

relevant has resided in Camby, Indiana.

        8.       Defendant Wakpamni Lake Community Corporation (“WLCC”) is a corporation

organized under the law of the Oglala Tribe.

        9.       Defendant WLCC II d/b/a Arrowhead Advance purports to be an entity “wholly

owned and controlled by, the Wakpamni Lake Community a political subdivision of the Oglala

Sioux Tribe.”

        10.      Defendant Wakpamni Lake Community Corporation II (“WLCC II”) is a

corporation organized under the law of the Oglala Tribe.

        11.      Defendant Raycen Raines, III, also known as Raycen American Horse Raines and

formerly known as Raycen Ballard (“Raines”), is a citizen of South Dakota believed to reside at 3503

or 3505 Chapel Hill Road, Rapid City, SD 57702. On information and belief, he is a board member

and Chief Executive Officer of WLCC.

        12.      On information and belief, Raines has taken a lead role in originating the Internet

lending business complained of herein, and in organizing WLCC and acquiring capital for lending.

        13.      Defendant Bret A. Crandall (“Crandall”) is an individual believed to be a citizen of

Maryland and to reside at 1707 Randall Dr., Solon, IA 52333-9424, or 1413 Foxwood Court,

Annapolis, MD 21409. On information and belief, he is employed by WLCC as director of

compliance.

        14.      Geneva Lone Hill (“Hill”), now deceased, was the president of the Wakpamni Lake

Community Corporation (“WLCC”).



                                                      -3-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 4 of 19 PageID #: 4



        15.     John Does 1-20 are other natural or artificial persons who participated in the

Internet lending scheme complained of herein.

                                                FACTS

                 FACTS RELATING TO INTERNET LENDING BUSINESS

        16.     Raines, Hill and others developed a plan to make illegal high-interest loans over the

Internet, while evading liability for such loans by using the tribal immunity of the Oglala Sioux tribe.

        17.     Raines and Hill initially asked the Economic Development Office of the Oglala

Sioux Tribe to enter into a business arrangement for the conduct of a high-interest consumer

lending business.

        18.     The Economic Development Office declined to enter into any such business

arrangement.

        19.     Raines and Hill thereupon formed WLCC and later WLCC II.

        20.     While these purport to be tribal entities, they are in fact operating contrary to the

wishes of tribal authorities.

        21.     The actual lending operations were carried out and continue to be carried out in

locations other than tribal lands.

        22.     All customer payments were processed through Cash Cloud, LLC, a now-defunct

Arizona entity with no tribal affiliation, and then Cash Cloud, Inc., an Arizona corporation.

        23.     Other locations used to conduct the lending operations are in Utah, Texas, Canada

and Belize. For example, demands on wage assignments have purported to come from 215 East

Center Street, Blanding, Utah.

        24.     The operations that are not conducted on tribal land include lead generation,

marketing, funding, underwriting, payment processing, and collection.

        25.     No member of the Tribe participates in the day to day lending operations.

        26.     Raines and Hill made Crandall director of compliance for WLCC. Crandall devised



                                                   -4-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 5 of 19 PageID #: 5



and implemented the lending practices engaged in by WLCC and WLCC II.

       27.     WLCC and WLCC II formed and conducted a series of lending operations that were

either subsidiaries or assumed names, and which change from time to time. These included:

               a.     WLCC II d/b/a Arrowhead Advance;

               b.     WLCC Lending FFG d/b/a Falcon Funding Group.

               c.     WLCC Lending FDL d/b/a Fast Day Loans.

               d.     WLCC Lending BGL d/b/a Bison Green Lending.

               e.     WLCC Lending JEM d/b/a Explore Credit.

               f.     WLCC Lending FHC, d/b/a Fox Hills Cash.

               g.     WLCC II d/b/a Arrowhead Advance.

               h.     WLCC Lending AIL d/b/a Good Loans Fast.

               i.     WLCC Lending TLP d/b/a Rapid Loan.

               j.     Black Hawk Financial d/b/a Title Loan Fast.

               k.     WLCC Lending MSS d/b/a MyBackWallet.

               l.     WLCC Lending GEG d/b/a TheGanEdenGroup.com;

               m.     Checkadvanceusa.net;

               n.     WLCC Lending CFC d/b/a Consumer First Credit;

               o.     Green Circle Lending;

               p.     Rolling Plains Cash;

               q.     Cash on Cloud 9;

               r.     Easy Cash Online Store;

               s.     BaysideCash.com;

               t.     Whisper Rock, LLC;

               u.     BeachsideCash.com;

               v.     Blvdcash.com;



                                                -5-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 6 of 19 PageID #: 6



               w.       Fast Money Store;

               x.       FiresideCash.com;

               y.       Seaside Dollar;

               z.       SeasidePayday.com;

               aa.      WLCC Lending MFT d/b/a Merit Financial Trust;

               bb.      WLCC Lending MFT d/b/a Ocean Park Funding.

       28.     Each of these entities claims that it is “an entity of the Wakpamni Lake Community

Corporation (WLCC), a tribal corporation wholly owned by the Wakpamni Lake Community.”

WLCC claims to be entitled to the sovereign immunity of the Oglala Sioux Tribe.

       29.     In fact, the Oglala Tribe receives no benefit from the lending operations.

       30.     WLCC and WLCC II receive a small fee for each loan made.

       31.     All profits from the lending activities are received by non-members of the Tribe.

       32.     The funds lent are transferred by ACH credit to the borrowers’ bank accounts

throughout the United States.

       33.     Repayment of the loans is made by ACH debit from the borrowers’ bank accounts

throughout the United States.

                                    DEFENDANTS’ LOANS

       34.     WLCC II d/b/a Arrowhead Advance (“Arrowhead Advance”) makes loans through

its website, https://www.arrowheadadvance.com/, to consumers at interest rates in excess of 700%

annually. (Exhibit A)

       35.     On or about February 12, 2024, Arrowhead Advance made a loan to Plaintiff

(Exhibit B) for $600. The disclosed annual percentage rate of 779.99%.

       36.     The loan agreement (Exhibit B) is a standard form.

       37.     The loan was made for personal purposes and not for business purposes.

       38.     The principal amount was transferred to Plaintiff’s bank account in Indiana via



                                                -6-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 7 of 19 PageID #: 7



ACH.

        39.      The loan was made entirely via the Internet.

        40.      The loan was to be repaid via ACH.

        41.      Plaintiff made some of the payments, including interest. Defendants claim that

amounts are still owed on the loan.

        42.      Defendants’ lending does not actually occur on the Tribe’s reservation.

        43.      A significant majority of the transaction occurs within the State of Indiana –

applying for the loan and receiving and collecting the funds.

        44.      The place where a consumer is located when he or she submits an application via an

online portal with a Native American tribe determines where the transaction takes place for

jurisdictional purposes. California v. Iipay Nation of Santa Ysabel, 898 F.3d 960, 968 (9th Cir. 2018)

(“However, the patrons’ act of placing a bet or wager on a game of DRB while located in California

constitutes gaming activity that is not located on Indian lands, violates the UIGEA, and is not

protected by IGRA.”).

        45.      Plaintiff has never set foot on the Oglala Tribe’s land.

        46.      Loans to Indiana residents made in the same manner as the loan to Plaintiff are

governed by the laws of the State of Indiana.

                            INDIANA REGULATION OF LENDING

        47.      The Indiana Uniform Consumer Credit Code, establishes a maximum loan finance

charge of 36%.

        48.      Ind. Code § 24-4.5-3-201, authorizes a maximum 25% per annum for consumer

loans other than supervised loans. It provides:

        (1) Except as provided in subsections (7) and (9), with respect to a consumer loan, other
        than a supervised loan (as defined in section 501 [IC 24-4.5-3-501] of this chapter), a lender
        may contract for a loan finance charge, calculated according to the actuarial method, not
        exceeding twenty-five percent (25%) per year on the unpaid balances of the principal (as
        defined in section 107(3) [IC 24-4.5-3-107(3)] of this chapter). . . .



                                                    -7-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 8 of 19 PageID #: 8



       49.     With respect to supervised loans, the Indiana Uniform Consumer Credit Code, Ind.

Code § 24-4.5-3-508, provides:

       Loan finance charge for supervised loans.

       (1) With respect to a supervised loan, including a loan pursuant to a revolving loan account,
       a supervised lender may contract for and receive a loan finance charge not exceeding that
       permitted by this section.

       (2) The loan finance charge, calculated according to the actuarial method, may not exceed
       the equivalent of the greater of:

               (a) the total of:

                       (i) thirty-six percent (36%) per year on that part of the unpaid balances of the
                       principal (as defined in section 107(3) [IC 24-4.5-3-107(3)] of this chapter)
                       which is two thousand dollars ($2,000) or less;

                       (ii) twenty-one percent (21%) per year on that part of the unpaid balances of
                       the principal (as defined in section 107(3) of this chapter) which is more than
                       two thousand dollars ($2,000) but does not exceed four thousand dollars
                       ($4,000); and

                       (iii) fifteen percent (15%) per year on that part of the unpaid balances of the
                       principal (as defined in section 107(3) of this chapter) which is more than
                       four thousand dollars ($4,000); or

               (b) twenty-five percent (25%) per year on the unpaid balances of the principal (as
               defined in section 107(3) of this chapter). . . .

       50.     There is also a provision for small loans, Ind. Code § 24-4.5-7-101 et seq., but it

does not authorize the rates charged by Defendants, and requires that small loans conform to other

requirements that Defendants’ loans do not comply with.

       51.     Ind. Code. § 24-4.5-7-201, “Limitations on finance charges,” provides:

       (1) Finance charges on the first two hundred fifty dollars ($250) of a small loan are limited to
       fifteen percent (15%) of the principal.

       (2) Finance charges on the amount of a small loan greater than two hundred fifty dollars
       ($250) and less than or equal to four hundred dollars ($400) are limited to thirteen percent
       (13%) of the amount over two hundred fifty dollars ($250) and less than or equal to four
       hundred dollars ($400).

       (3) Finance charges on the amount of the small loan greater than four hundred dollars ($400)
       and less than or equal to five hundred fifty dollars ($550) are limited to ten percent (10%) of
       the amount over four hundred dollars ($400) and less than or equal to five hundred fifty


                                                  -8-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 9 of 19 PageID #: 9



       dollars ($550).

       (4) The amount of five hundred fifty dollars ($550) in subsection (3) is subject to change
       under the provisions on adjustment of dollar amounts (IC 24-4.5-1-106). However,
       notwithstanding IC 24-4.5-1-106(1), the Reference Base Index to be used under this
       subsection is the Index for October 2006.

       52.     The amount of finance charge provided for in Exhibit B is more than double that

permitted in Indiana under any provision.

       53.     Ind. Code § 24-4.5-1-201, “Territorial application,” provides:

       (1) Except as otherwise provided in this section, this article applies to sales, leases, and loans
       made in this state and to modifications, including refinancings, consolidations, and deferrals,
       made in this state, of sales, leases, and loans, wherever made. For purposes of this article, the
       following apply: . . .

               (c) A loan or modification of a loan agreement is made in this state if a writing signed
               by the debtor and evidencing the debt is received by the lender or a person acting on
               behalf of the lender in this state.

               (d) Except as provided in subdivisions (e) and (f), a sale, lease, or loan transaction
               occurs in Indiana if a consumer who is a resident of Indiana enters into a consumer
               sale, lease, or loan transaction with a creditor or a person acting on behalf of the
               creditor in another state and the creditor or the person acting on behalf of the
               creditor has advertised or solicited sales, leases, or loans in Indiana by any means,
               including by mail, brochure, telephone, print, radio, television, the Internet, or
               electronic means.

               (e) A sale, lease, or loan transaction does not occur in Indiana if a consumer who is a
               resident of Indiana enters into a consumer sale, lease, or loan transaction secured by
               an interest in land located outside Indiana.

               (f) A sale, lease, or loan transaction does not occur in Indiana if a consumer who is a
               resident of Indiana enters into a consumer sale, lease, or loan transaction at a
               creditor’s place of business in another state.

       For purposes of subdivisions (a) through (c), an offer is received by a creditor or a person
       acting on behalf of the creditor in Indiana if the offer is physically delivered, or otherwise
       transmitted or communicated, to a person who has actual or apparent authority to act for the
       creditor or the person acting on behalf of the creditor in Indiana, regardless of whether
       approval, acceptance, or ratification by any other agent or representative of the creditor or
       the person acting on behalf of the creditor in another state is necessary to give legal
       consequence to the consumer credit transaction. . . .

       (5) Notwithstanding other provisions of this section:

               (a) except as provided in subsection (2), this article does not apply if the buyer,
               lessee, or debtor is not a resident of this state at the time of a credit transaction and


                                                  -9-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 10 of 19 PageID #: 10



               the parties then agree that the law of the buyer’s, lessee’s, or debtor’s residence
               applies; and

               (b) this article applies if the buyer, lessee, or debtor is a resident of this state at the
               time of a credit transaction and the parties then agree that the law of this state
               applies.

       (6) Except as provided in subsection (5), the following agreements by a buyer, lessee, or
       debtor are invalid with respect to consumer credit sales, consumer leases, consumer loans, or
       modifications thereof, to which this article applies:

               (a) An agreement that the law of another state shall apply.

               (b) An agreement that the buyer, lessee, or debtor consents to the jurisdiction of
               another state.

               (c) An agreement that fixes venue. . . .

       (8) If a creditor or a person acting on behalf of the creditor has violated the provisions of
       this article that apply to the authority to make consumer loans (IC 24-4.5-3-502), the loan is
       void and the debtor is not obligated to pay either the principal or loan finance charge, as set
       forth in IC 24-4.5-5-202.

       54.     Ind. Code § 24-4.5-5-202, “Effect of violations on rights of parties,” provides:

       . . . (3) A debtor is not obligated to pay a charge in excess of that allowed by this Article, and
       if the debtor has paid an excess charge the debtor has a right to a refund. A refund
       may be made by reducing the debtor’s obligation by the amount of the excess charge. If the
       debtor has paid an amount in excess of the lawful obligation under the agreement, the
       debtor may recover the excess amount from the person who made the excess charge or from
       an assignee of that person’s rights who undertakes direct collection of payments from or
       enforcement of rights against debtors arising from the debt.

       (4) If a debtor is entitled to a refund and a person liable to the debtor refuses to make
       a refund within a reasonable time after demand, the debtor may recover from that
       person a penalty in an amount determined by a court not exceeding the greater of
       either the amount of the credit service or loan finance charge or ten (10) times the
       amount of the excess charge. If the creditor has made an excess charge in deliberate
       violation of or in reckless disregard for this Article, the penalty may be recovered
       even though the creditor has refunded the excess charge. No penalty pursuant to this
       subsection may be recovered if a court has ordered a similar penalty assessed against the
       same person in a civil action by the department (IC 24-4.5-6-113). With respect to excess
       charges arising from sales made pursuant to revolving charge accounts or from loans made
       pursuant to revolving loan accounts, no action pursuant to this subsection may be brought
       more than two (2) years after the time the excess charge was made. With respect to excess
       charges arising from other consumer credit sales or consumer loans, no action pursuant to
       this subsection may be brought more than one (1) year after the due date of the last
       scheduled payment of the agreement pursuant to which the charge was made. . . .

       (7) If the creditor establishes by a preponderance of evidence that a violation is unintentional


                                                   -10-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 11 of 19 PageID #: 11



         or the result of a bona fide error, no liability is imposed under subsections (1), (2), and (4)
         and the validity of the transaction is not affected.

         (8) In any case in which it is found that a creditor has violated this Article, the court may
         award reasonable attorney’s fees incurred by the debtor. . . . (Emphasis added)

                                     RENT-A-TRIBE SCHEMES

         55.     In an attempt to evade prosecution under usury laws of states like Indiana, non-tribal

 owners of online payday lending businesses frequently engage in a business model commonly

 referred to as a “rent-a-tribe” scheme.

         56.     Here, and in such schemes, non-tribal payday lenders create an elaborate charade

 claiming their non-tribal businesses are owned and operated by Native American tribes.

         57.     The illegal payday loans are then made in the name of a Native American tribal

 business entity which purport to be shielded from state and federal laws prohibiting usury due to

 tribal sovereign immunity. However, the tribal lending entity is simply a facade for an illegal lending

 scheme; all substantive aspects of the payday lending operation – funding, marketing, loan

 origination, underwriting, loan servicing, electronic funds transfers, and collections – are performed

 by individuals and entities that are unaffiliated with the tribe.

         58.     In exchange for use of the tribe’s name, the beneficial owner of the payday lending

 scheme pays the cooperating tribe a fraction of the revenues generated. While the percentage varies

 from scheme-to-scheme, the number is almost always in the single digits.

         59.     However, an entity must function as a legitimate “arm of the tribe” in order to fall

 under that tribe’s sovereign immunity. See Breakthrough Mgmt. Grp., Inc. v. Chukchansi Gold Casino &

 Resort, 629 F.3d 1173, 1183 (10th Cir. 2010).

         60.     To determine if a particular entity is entitled to sovereign immunity, the majority of

 courts have adopted the framework laid out in Breakthrough, which analyzed “(1) [the entities']

 method of creation; (2) their purpose; (3) their structure, ownership, and management, including the

 amount of control the tribe has over the entities; (4) whether the tribe intended for the entities to



                                                    -11-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 12 of 19 PageID #: 12



 have tribal sovereign immunity; (5) the financial relationship between the tribe and the entities; and

 (6) whether the purposes of tribal sovereign immunity are served by granting immunity to the

 entities.” Breakthrough at 1183, 1187-88.

         61.     These so-called “tribal lenders” usually do not survive scrutiny when examined

 closely, since virtually all business functions occur far from tribal land, by nontribal members, and

 overwhelmingly benefit non-tribal members to such a degree that tribal involvement is effectively

 nil.

         62.     Where non-tribal individuals and entities control and manage the substantive lending

 functions, provide the lending capital necessary to support the operation, and bear the economic risk

 associated with the operation, they are not in fact “operated” by Native American tribes and,

 therefore, are not shielded by sovereign immunity.

         63.     Further, sovereign immunity, even if legitimately invoked, still does not turn an

 otherwise illegal loan into a legal one. See, e.g., United States v. Neff, 787 F. App’x 81 (3d Cir. 2019)

 (upholding criminal convictions of two individuals engaged in an online payday lending rent-a-tribe

 scheme; sovereign immunity does not transform illegal loans into legal ones, and “reasonable people

 would know that collecting unlawful debt is unlawful”).

         64.     Attempting to circumvent state interest rate caps by fraudulently hiding behind tribal

 sovereign immunity has been found to constitute criminal conduct. On October 13, 2017, a jury in

 the U.S. District Court for the Southern District of New York convicted Scott Tucker and Timothy

 Muir on 14 felony counts for their operation of a network of tribal lending companies. See United

 States v. Tucker, et al., No. 1:16-cr-00091-PKC (S.D.N.Y). The conviction was affirmed in United States

 v. Grote, 961 F.3d 105 (2d Cir. 2020).

         65.     The excessive interest charges imposed by Defendants were intentional.

 Defendants were warned about the illegality of their lending by the Washington state Department of

 Financial Institutions in 2018. (Exhibit C).



                                                     -12-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 13 of 19 PageID #: 13



                  COUNT I – INDIANA UNIFORM CONSUMER CREDIT CODE

           66.     Plaintiff incorporates paragraphs 1-65.

           67.     This claim is against all Defendants.

           68.     Because the loan made to Plaintiff violated the rate limits set by Indiana law, and the

 violation was intentional, Plaintiff and other borrowers are entitled to ten (10) times the amount of

 the excess charge.

                                         CLASS ALLEGATIONS

           69.     Plaintiff brings this claim on behalf of a class, pursuant to Fed. R. Civ. P. 23(a) and

 (b)(3).

           70.     The class consists of (a) all individuals with Indiana addresses (b) to whom a loan

 was made by any lender purportedly owned by Wakpamni Lake Community Corporation or

 Wakpamni Lake Community Corporation II (c) at more than 36% interest (all of its loans qualify)

 (d) on or after a date two years prior to the filing of this action.

           71.     Plaintiff may alter the class definition to conform to developments in the case and

 discovery.

           72.     The class is so numerous that joinder of all members is not practicable. On

 information and belief, based on the making of loans over the Internet using form documents, there

 are at least forty class members.

           73.     There are questions of law and fact common to the class members, which common

 questions predominate over any questions relating to individual class members. The predominant

 common questions are whether Defendants engage in a practice of making and attempting to collect

 illegal loans.

           74.     Plaintiff will fairly and adequately represent the class members. Plaintiff has retained

 counsel experienced in class actions and consumer credit litigation.

           75.     Plaintiff’s claims are typical of the claims of the class members. All are based on the



                                                     -13-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 14 of 19 PageID #: 14



 same factual and legal theories.

         76.     A class action is superior for the fair and efficient adjudication of this matter, in that:

                 a.      Individual actions are not economically feasible.

                 b.      Members of the class are likely to be unaware of their rights.

         WHEREFORE, the Court should enter judgment in favor of Plaintiff and the class and

 against Defendants for:

                         i.         Damages as provided by statute;

                         ii.        Attorney’s fees, expenses and costs; and

                         iii.       Such other or further relief as is appropriate.

                                            COUNT II – RICO

         77.     Plaintiff incorporates paragraphs 1-65.

         78.     This claim is against Defendants Crandall and Raines (“individual defendants”).

 who are the RICO “persons.” Hill would also have been a “person,” but is deceased.

         79.     All loans made by any lender purportedly owned by Wakpamni Lake Community

 Corporation or Wakpamni Lake Community Corporation II to Indiana residents are (a)

 unenforceable under Indiana law in whole or in part as to principal or interest because of the laws

 relating to usury, and (b) were incurred in connection with the business of lending money at a rate

 usurious under Indiana law.

         80.     The loans are therefore “unlawful debts” as defined in 18 U.S.C. § 1961(6).

         81.     The lenders purportedly owned by Wakpamni Lake Community Corporation and

 Wakpamni Lake Community Corporation II are an enterprise affecting interstate commerce, in that

 they are located outside of Indiana and make loans to Indiana residents via the Internet.

         82.     The individual defendants are associated with this enterprise, in that they direct and

 supervise the making of loans to Indiana residents.

         83.     The individual defendants conducted or participated in the conduct of the affairs of



                                                      -14-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 15 of 19 PageID #: 15



 the lenders purportedly owned by Wakpamni Lake Community Corporation or Wakpamni Lake

 Community Corporation II through a pattern of collection of unlawful debt, as set forth above, in

 violation of 18 U.S.C. §1962(c).

           84.   Plaintiff was deprived of money as a result.

                                          CLASS ALLEGATIONS

           85.   Plaintiff brings this claim on behalf of a class, pursuant to Fed. R. Civ. P. 23(a) and

 (b)(3).

           86.   The class consists of (a) all individuals with Indiana addresses (b) to whom a loan

 was made by any lender purportedly owned by Wakpamni Lake Community Corporation or

 Wakpamni Lake Community Corporation II (c) at more than 72% interest (d) which loan was made

 on or after a date four years prior to the filing of this action.

           87.   The class is so numerous that joinder of all members is not practicable. On

 information and belief, based on the making of loans over the Internet using form documents, there

 are at least forty class members.

           88.   There are questions of law and fact common to the class members, which common

 questions predominate over any questions relating to individual class members. The predominant

 common questions are:

                 a.       Whether the loans at issue are “unlawful debts” as defined in RICO.

                 b.       Whether the lenders purportedly owned by Wakpamni Lake Community

                          Corporation and Wakpamni Lake Community Corporation II are an

                          “enterprise.”

                 c.       Whether the individual defendants are associated with that enterprise.

                 d.       Whether the individual defendants conducted or participated in the affairs of

                          the enterprise through a pattern of making and collecting unlawful loans.

           89.   Plaintiff will fairly and adequately represent the class members. Plaintiff has retained



                                                     -15-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 16 of 19 PageID #: 16



 counsel experienced in class actions and consumer credit litigation.

         90.     Plaintiff’s claim is typical of the claims of the class members. All are based on the

 same factual and legal theories.

         91.     A class action is superior for the fair and efficient adjudication of this matter, in that:

                 a.      Individual actions are not economically feasible.

                 b.      Members of the class are likely to be unaware of their rights.

         WHEREFORE, the Court should enter judgment in favor of Plaintiff and the class and

 against Defendants Crandall and Raines for:

                         i.         Treble damages;

                         ii.        Attorney’s fees, litigation expenses and costs of suit; and

                         iii.       Such other or further relief as the Court deems proper.




                                                    /s/ Daniel A. Edelman
                                                    Daniel A. Edelman

 Daniel A. Edelman (IL ARDC 0712094)
 Heather Kolbus (IL ARDC 6278239)
 EDELMAN, COMBS, LATTURNER
         & GOODWIN, LLC
 20 South Clark Street, Suite 1800
 Chicago, IL 60603-1841
 (312) 739-4200
 (312) 419-0379 (FAX)
 Email address for service: courtecl@edcombs.com




                                                      -16-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 17 of 19 PageID #: 17



                                          JURY DEMAND

       Plaintiff demands trial by jury.


                                             /s/ Daniel A. Edelman
                                             Daniel A. Edelman




                                              -17-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 18 of 19 PageID #: 18



                                  NOTICE OF ASSIGNMENT

       Please be advised that all rights relating to attorney’s fees have been assigned to counsel.




                                               /s/ Daniel A. Edelman
                                               Daniel A. Edelman




                                                 -18-
Case 1:24-cv-01178-JRS-MKK Document 1 Filed 07/12/24 Page 19 of 19 PageID #: 19



                           DOCUMENT PRESERVATION DEMAND

          Plaintiff hereby demands that each Defendant take affirmative steps to preserve all
 recordings, data, documents, and all other tangible things that relate to Plaintiff, class members, the
 events described herein, any third party associated with any telephone call, campaign, account, sale
 or file associated with Plaintiff, and any account or number or symbol relating to them. These
 materials are likely relevant to the litigation of this claim. If any Defendant is aware of any third
 party that has possession, custody, or control of any such materials, Plaintiff demands that
 Defendant request that such third party also take steps to preserve the materials. This demand shall
 not narrow the scope of any independent document preservation duties of the Defendants.




                                                 /s/ Daniel A. Edelman
                                                 Daniel A. Edelman




                                                   -19-
